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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

BAUSCH & LOMB INCORPORATED,

 

Plaintiff (s), .
Vv. 13-CV-6498

VITAMIN HEALTH, INC.,

Defendant(s).

 

Currently pending before the Court are the parties’ motions to
compel. (Docket ## 65, 127). On August 8, 2014, a hearing was
held and arguments were heard from the parties’ attorneys with
respect to plaintiff’s motion to compel (Docket # 65). On the
record during the August 8'* hearing, the Court resolved many of the
issues presented in the motion. The Court instructed the parties
to “meet and confer” to resolve the remaining issues. The Court
was thereafter advised that some issues remained unresolved. On
January 20 and January 26, 2015, the parties submitted supplemental
affidavits explaining the remaining unresolved issues and setting
forth their respective positions with respect to those issues.

Thereafter, on January 30, 2015, the Court held a hearing to
address defendant’s motion to compel (Docket # 127) and the
unresolved issues with respect to plaintiff’s motion to compel
(Docket # 65). For the reasons set forth on the record during the

January 30° hearing, the Court hereby determines the pending

motions as set forth below:

 

 
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Plaintiff's motion to compel (Docket # 65): Plaintiff’s motion
to compel is granted in part and denied in part as follows:

1. “Manufacturing-related information”: The defendant shall
produce the requested manufacturing-related information as it is
maintained by the manufacturers without any changes or revisions
except that defendant may remove by redaction the identities of the
manufacturers. In the case of allegedly infringing products,
defendant will produce a separate document which identifies the
accused product with the composition of that product. Defendant
shall produce these documents to plaintiff within thirty (30) days
of entry of this Order.

2. “Research and development” documents: Defense counsel
represented to the Court that the defendant has been producing
these documents and continues to supplement its production with
further responsive documents. Defendant will complete its
supplemental production of these types of documents by February 13,
2015. Plaintiff's motion to compel production of these documents
is therefore granted.

3. “Customer communications”: For the reasons stated on the
record, plaintiff’s request is denied without prejudice to renew
once discovery is obtained from the known customer of the
defendant.

4. “Sales information”: Plaintiff’s request is granted.

Defendant will produce its response to this request within thirty

 

 
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(30) days of entry of this Order.

Defendant’s Motion to Compel (Docket # 127): Defendant’s
motion to compel is granted in part and denied in part as follows:

1. Interrogatory No. 17 and discovery related to the
contributions of each inventor to the ‘297 and ‘522 Patents: The
defendant’s request is denied without prejudice to renew.
Plaintiff's counsel represented that plaintiff has produced
existing documents and recently discovered additional responsive
documents it will produce. In addition, the Court will allow
defendant to depose a representative from the plaintiff with
knowledge of its document retention policies and what documents, if
any, were destroyed that were relevant to the patents at issue
here.

2. Documents related to the AREDS and AREDS 2 studies:
defendant’s request is denied. The Court finds that plaintiff has
satisfied this demand. If additional responsive documents are
discovered, plaintiff shall produce them forthwith.

3. Documents related to the design, development, and first
offer for sale of each of B&L’s AREDS and AREDS 2 Vitamins: The
defendant’s motion to compel is denied. Based on the current
record, the Court finds that plaintiff has satisfied this demand.
If additional responsive documents are discovered, plaintiff shall

produce them forthwith.

4. Interrogatory No. 15 regarding B&L’s Infringement

 

 
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Contentions: Plaintiff is ordered to supplement its response to
this demand prior to depositions being taken.

SO ORDERED.

   

 

Wy
JONATH W. FELDMAN

UNITED STATES MAGISTRATE JUDGE

Dated: February 3, 2015
Rochester, New York

 

 
